       Case 3:23-cv-02071-E Document 2 Filed 10/10/23                     Page 1 of 7 PageID 685

                                  UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS




Hunter Mountain Investment Trust                       §
                Plaintiff                              §
                                                       §
                                                       §
                     v.                                §     Case No. 3:23-cv-02071-E
                                                       §
                                                       §
Highland Capital Management, L.P.                      §
                Defendant                              §


                          APPLICATION FOR ADMISSION PRO HAC VICE
                           (Complete all questions; indicate “N/A” if necessary.)

I.       Applicant is an attorney and a member of the law firm of (or practices under the name of)

John A. Morris with Pachulski Stang Ziehl & Jones LLP                                        , with offices at

780 Third Avenue, 34th Floor
(Street Address)

New York                                                     NY                     10017
(City)                                                      (State)                 (Zip Code)

 (212) 561-7700                                              (212) 561-7777
(Telephone No.)                                              (Fax No.)




II.      Applicant will sign all filings with the name John A. Morris                                        .


III.     Applicant has been retained personally or as a member of the above-named firm by:
                                         (List All Parties Represented)

Highland Capital Management, L.P.




to provide legal representation in connection with the above-styled matter now pending before the United
States District Court for the Northern District of Texas.
       Case 3:23-cv-02071-E Document 2 Filed 10/10/23                   Page 2 of 7 PageID 686


IV.      Applicant is a member in good standing of the bar of the highest court of the state of
                                                                                                      For Court Use Only.
                                                                                                      Bar StatusVerified:
                     New York                        , where Applicant regularly practices law.       _______________


                    2405397
Bar license number:_______________                          02/26/1991
                                            Admission date:____________________________

Attach to this application an original certificate of good standing issued within the past 90 days from the
attorney licensing authority in a state in which you are admitted to practice (e.g., State Bar of Texas).


V.       Applicant has also been admitted to practice before the following courts:

Court:                                    Admission Date:                            Active or Inactive:

US District Court SDNY                    01/07/1992                                 Active

US District Court EDNY                    08/28/1995                                 Active




VI.    Applicant has never involuntarily lost, temporarily or permanently, the right to practice before
any court or tribunal, or resigned in lieu of discipline, except as provided below:

N/A




VII.     Applicant has never been subject to grievance proceedings or involuntary removal proceedings—
regardless of outcome—while a member of the bar of any state or federal court or tribunal that requires
admission to practice, except as provided below:

N/A




VIII.    Applicant has not been charged, arrested, or convicted of a criminal offense or offenses, except
as provided below (omit minor traffic offenses):

N/A
Case 3:23-cv-02071-E Document 2 Filed 10/10/23   Page 3 of 7 PageID 687
    Case 3:23-cv-02071-E Document 2 Filed 10/10/23                Page 4 of 7 PageID 688



                     STATEMENT OF ADDITIONAL APPLICATIONS

IX.    Applicant has filed for pro hac vice admission in the United States District Court for the
Northern District of Texas during the past three (3) years in the following matters:

James Dondero vs. Highland Capital Management, L.P., et al. Case No. 3:20-cv-03390-X

UBS Securities LLC and UBS AG, London Branch vs. Highland Capital Management, L.P.,
Case No. 3:20-cv-03408-G

The Dugaboy Investment Trust and Get Good Trust vs. Highland Capital Management, L.P.,
Case No. 3:21-cv-00261-L

Highland Capital Management Fund Advisors, L.P. and NexPoint Advisors, L.P. vs. Highland
Capital Management, L.P., Case No. 3:21-cv-00538-N

Highland Income Fund, NexPoint Strategic Opportunities Fund, Highland Global Allocation
Fund, and NexPoint Capital, Inc. vs. Highland Capital Management, L.P., Case No. 3:21-cv-
00539-N

James Dondero vs. Highland Capital Management, L.P., Case No. 3:21-cv-00546-N

The Dugaboy Investment Trust, et al. vs. Highland Capital Management, L.P., Case No. 3:21-cv-
00550-N

Charitable DAF Fund et al. vs. Highland Capital Management LP et al., Case No. 3:21-cv-
00842-B

James Dondero, et al. vs. Jernigan, Case No. 3:21-cv-00879-K

Highland Capital Management, L.P. vs. NexPoint Advisors LP, Case No. 3:21-cv-00880-X

Highland Capital Management LP et al v. Highland Capital Management Fund Advisors LP,
Case No. 3:21-cv-00881-X

PCMG Trading Partners XXIII LP v. Highland Capital Management LP, Case No. 3:21-cv-
01169-N

The Dugaboy Investment Trust and Get Good Trust et al v. Highland Capital Management LP,
Case No. 3:21-cv-01295-X

Highland Capital Management, L.P., vs. Highland Capital Management Services, Inc., Case No.
3:21-cv-01378-X

Highland Capital Management, L.P., vs. HCRE Partners, LLC n/k/a NexPoint Real Estate
Partners, LLC, Case No. 21-cv-01379-X
   Case 3:23-cv-02071-E Document 2 Filed 10/10/23              Page 5 of 7 PageID 689




The Charitable DAF Fund LP et al v. Highland Capital Management LP, Case No. 3:21-cv-
01585-S

Dondero et al v. Highland Capital Management LP, Case No. 3:21-cv-01590-N

Charitable DAF Fund LP v. Highland Capital Management LP, Case No. 3:21-cv-01710-N

Highland Capital Management Fund Advisors L.P., and NexPoint Advisors, L.P. vs. Highland
Capital Management, L.P., Case No. 3:21-cv-01895-D

The Charitable DAF Fund, L.P. et al v. Highland Capital Management LP, Case No. 3:21-cv-
01974-X

Dondero et al v. Highland Capital Management LP, Case No. 3:21-cv-01979-S

The Dugaboy Investment Trust and Get Good Trust et al v. Highland Capital Management LP,
Case No. 3:21-cv-02268-S

NextPoint Advisors, L.P. et al. vs. Pachulski Stang Ziehl & Jones LLP, Case No. 3:21-cv-03086-
K

Highland Capital Management Fund Advisors, L.P., et al. vs. Highland Capital Management,
L.P., Case No. 3:22-cv-02170-S (NDTX)

NexPoint Advisors LP, et al. vs. Highland Capital Management, L.P., Case No. 23-00573
(NDTX)

Charitable DAF Fund LP et al v. Highland Capital Management LP, Case No. 3:23-cv-01503




                                              2
 Case 3:23-cv-02071-E Document 2 Filed 10/10/23   Page 6 of 7 PageID 690




            Appellate Division of the Supreme Court
                     of the State of New York
                   First Judicial Department


       I, Susanna M. Rojas, Clerk of the Appellate Division of the
Supreme Court of the State of New York, First Judicial
Department, do hereby certify that

                     John Andrew Morris
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on February 26,
1991, has duly taken and subscribed the oath of office prescribed
by law, has been enrolled in the Roll of Attorneys and Counselors
at Law on file in this office, is duly registered with the Office of
Court Administration, and according to the records of this Court
is currently in good standing as an Attorney and Counselor-at-
Law.



                            In Witness Whereof, I have hereunto set
                            my hand in the City of New York on
                            October 10, 2023.




                                        Clerk of the Court




CertID-00141000
  Case 3:23-cv-02071-E Document 2 Filed 10/10/23                    Page 7 of 7 PageID 691

                  Supreme Court of the State of New York
                   Appellate Division, First Department

  DIANNE T. RENWICK                                                                 MARGARET SOWAH
     PRESIDING JUSTICE                                                          DEPUTY CLERK OF THE COURT


SUSANNA MOLINA ROJAS                                                           DOUGLAS C. SULLIVAN
     CLERK OF THE COURT                                                         DEPUTY CLERK OF THE COURT


To Whom It May Concern


       An attorney admitted to practice by this Court may request a certificate of good
standing, which is the only official document this Court issues certifying to an
attorney's admission and good standing.


       An attorney's registration status, date of admission and disciplinary history may
be viewed through the attorney search feature on the website of the Unified Court
System.


       New York State does not register attorneys as active or inactive.


      An attorney may request a disciplinary history letter from the Attorney
Grievance Committee of the First Judicial Department.


     Bar examination history is available from the New York State Board of Law
Examiners.


       Instructions, forms and links are available on this Court's website.




                                                        Susanna Rojas
                                                        Clerk of the Court




Revised October 2020


                          27 MADISON AVENUE   NEW YORK, NEW YORK 10010-2201
                    TEL.: (212) 340 0400   INTERNET: WWW.NYCOURTS.GOV/COURTS/AD1/
